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          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
9
                                              CALIFORNIA
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11                                                   Case Number: 2:17-cr-082 KJM
     THE UNITED STAES OF AMERICA
12                                                   ORDER FOR MENTAL EXAMINATION
     V.
13
     JOHN ANTHONY AYON
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17          During the pendency of this matter counsel for John Anthony Ayon, Olaf W. Hedberg

18   has caused Mr. Ayon to be examined by Neuropsychologist Dr. John Wicks. Counsel has shared

19   that report with AUSA Tim Delgado.
20          Based on the contents of that report both sides have agreed that Defendant should be
21   evaluated pursuant to 18 USC 4241. The Court accepted the parties' stipulation, and set the
22   matter for a status hearing regarding competency on March 18, 2019 at 9 am and ordered the
23   Defendant to undergo a Court Ordered mental health evaluation. Further, time was excluded
24   pursuant to Local Code A until that date and time.
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1           It is therefore ORDERED, that the defendant be committed to the custody of the U.S.

2    Bureau of Prison, for psychiatric and /or psychological examination, pursuant to 18 U.S.C. §

3    4241(b), to determine whether the defendant is suffering from a mental disease or defect

4    rendering him mentally incompetent to the extent that he is unable to understand the nature and

5    consequences of the proceedings against him and to present his own defense (pro per) or to assist

6    properly in his defense should he later determine to be represented by counsel. The examination

7    shall comply with the requirements of 18 U.S.C. § 4247(b). A status conference to set a hearing

8    on the defendant's competency will be held on March 18, 2019, at 9:00 a.m. Time under the

9    Speedy Trial Act has been excluded from January 7, 2019 through March 18, 2019, pursuant to

10   Local Code A.

11          The Office of the Clerk of the Court is directed to deliver a copy of this Order to the U.S.

12   Marshal’s Service and the U.S. Bureau of Prisons.

13   DATED: January 16, 2019.

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                                                  UNITED STATES DISTRICT JUDGE
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